NORTH CAROLINA                               IN THE GENERAL COURT OF JUSTICE
                                                 SUPERIOR COURT DIVISION
 COUNTY OF WAKE                                               18 CVS 1646

ERIC W. HARRIS & SHAEON K.
HARRIS, individually and derivatively
on behalf of HAREIS-PETERS, LLC,
                                             ORDER LIFTING STAY FOR A LIMITED
                           Plaintiffs,           PURPOSE AND GRANTING
                                                             PLAINTIFFS'
       V.                                    RENEWED EMERGENCY MOTION FQR
                                              THE APPOINTMENT OF A RECEWER
 STEPHEN C. PETERS and HAERIS-
PETERS,LLC,

                           Defendants.



      This matter is before the Court on the Renewed Emergency Motion For The


Appointment of a Receiver of filed by Plaintiffs Eric W. Harris and Sharon K. Harris.


("]V[otion", ECF No. 40.) The parties have consented to expedited ruling on the Motion


without a hearing. (Defs.' Joint Resp. to Mot., ECF No. 42.)


      Based on all competent matters of record, including the Motion, the pleadings,


affidavits, and other matters of record, the applicable law, and the arguments and


positions of counsel, the Court hereby makes the following findings of fact and


conclusions of law.


                               FINDINGS OF FACT

      1. Plaintiffs are spouses and the former clients of investment advisor and


Defendant Stephen C. Peters.


      2. Plaintiffs jointly own a 35% minority membership interest in Harris-


Peters, LLC.




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      3. Harris-Peters, LLC is the record owner of an approximately 93-acre


farm located in Wake County (the Property").


      4. The Property was divided into two parcels, and from 2012 until June of


2019, Mr. Peters and his family lived on one parcel and the Harrises lived on another


parcel located on the Property.


      5. From Harris-Peters, LLC's formation until the present time, Defendant


Stephen C. Peters has been the sole manager of that entity pursuant to its Operating


Agreement and relevant law.


      6. On June 6, 2019, a federal jury convicted Peters in United States v.


Peters, No. 5-17-CR-411-D, CM/ECFDkt. No. 57 (E.D.N.C. Oct. 18, 2018).


       7. On June 12, 2019, the United States moved for a preliminary order of


forfeiture of all property identified by the jury as forfeitable to the United States. On

June 21, 2019, Judge Dever entered a Preliminary Order of Forfeiture (the


"Forfeiture Order"), finding that all property identified in the order—including the

Property—was forfeitable to the United States.


       8. Consistent with federal statutes and rules governing forfeiture


proceedings, the Forfeiture Order provides that any third-party interests in the


Property (such as Harris-Peters, LLC's or Plaintiffs') shall be adjudicated pursuant


to an ancillary proceeding. Specifically, the Preliminary Order of Forfeiture states:


      Any person other than the defendant, having or claiming any legal
       interest in the subject property must file a petition with the Court within
       thirty (30) days of the publication of notice or of receipt of actual notice,
       whichever is earlier.




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      The petition must be signed by the petitioner under penalty of perjury
      and shall set forth the nature and extent of petitioner's right, title, or
      interest in the subject property, and must include any additional facts
      supporting the petitioner's claim and the relief sought.




      [U]pon adjudication of all third party interests this Court will enter a
      Final Order of Forfeiture as required by Fed. R. Grim. P. 32.2(c)(2).


Forfeiture Order at 8 & 9.


      9. Mr. Peters is unable to carry out his duties as manager, including taking


action on behalf of Harris-Peters, LLC in response to the Forfeiture Order.


                             CONCLUSIONS OF LAW

      1. This case presents unique circumstances due to the incarceration of the


manager of Harris-Peters, LLC.


      2. The Court finds on these unique facts that there is a pressing need for a


receiver to be appointed in relation to the Property given that Peters is unable to act


on behalf of Harris-Peters, LLC given his incarceration, and given that Harris-Peters,


LLC stands to lose all of its rights to the Property unless an appropriate petition is

timely filed in the ancillary proceeding pursuant to the Forfeiture Order.


      3. The Court finds, in light of recent developments and the preliminary


forfeiture of its sole asset, that Harris-Peters is in "imminent danger of insolvency


and therefore a receiver is appropriate pursuant to N.C. Gen. Stat. §§ 1—502(4) and


1—507.1 to take protective action.


      4. Further, the Court finds that Harris-Peters, LLC's needs a receiver to


ensure that certain critical functions are fulfilled, such as paying taxes on the




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Property, filing annual reports for Harris-Peters, LLC, physically securing the


Property, preparing and filing tax returns, and mitigating risks and harms to the


company.


      5. "Courts of equity have original power to appoint receivers and to make


such orders and decrees with respect to the discharge of their trust as justice and


equity may require." Bandy v. Gibson, 2017 NCBC LEXIS 57, at *7 (N.C. Super. Ct.


June 29, 2017) (quoting Lambeth v. Lambeth, 249 N.C. 315, 321, 106 S.E.2d 491, 495

(1959)); Camacho v. McCallum, 2016 NCBC LEXIS 81, at *31 (Oct. 25, 2016)

(("Pursuant to N.C. Gen. Stat. §§ 1-502(4) and 1-507.1, a North Carolina court may


appoint a receiver over a foreign LLC's property within North Carolina when the LLC


is in imminent danger of insolvency.").


      NOW, THEEEFORE, based on the foregoing FINDINGS OF FACT AND

CONCLUSIONS OF LAW, and pursuant to N.C.G.S. §§ 1-502(4), 1-507.1, and this

Court's inherent common law equitable authority over property within its


jurisdiction, it is hereby ORDERED:

       1. That the stay of this action is lifted for the limited purpose of the Motion

and for administration of the receivership created by this Order. Otherwise, the stay


of this action remains in force.


      2. That Sharon K. Harris is hereby appointed receiver (the "Receiver ) to


manage the assets of Harris-Peters, LLC, including but not limited to the Property,


(the "Receivership Property") as more specifically set forth in Appendix 1 to this

Order (the "Receivership Duties and Powers");




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      3. The Receiver shall not be compensated for her service as Receiver


pursuant to this Order;


      4. The Receiver shall not be required to post any cash or surety bond to


secure her performance as required hereunder;


      5. Notwithstanding the foregoing, the Receiver is hereby prohibited from


taking any action that would violate or conflict with any provisions of the June 21,


2019 Forfeiture Order (and any subsequent amendments or clarifications to such


order) entered by the Honorable James C. Dever in the case of United States v. Peters,


No. 5-17-CR-411-D, CM/ECF Dkt. No. 57 (E.D.N.C. Jun 21, 2019); and


      6. Except as expressly modified above, each party reserves all rights,


claims, remedies, and defenses.


      This the 1st day of August, 2019.




                                          /s/ Gregory P. IMcGuire
                                        Gregory P. McGuire
                                        Special Superior Court Judge for Complex
                                       Business Cases




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                 APPENDDC 1: RECEWER DUTIES AND POWERS

1. Duties.


          (a) Acceptance of receivershiu. The Eeceiver will file an Acceptance of
Receivership within five business days of his or her acceptance of his appointment.
The acceptance will be served on all counsel and certify that the receiver will: (1) act
in conformity with North Carolina law and rules and orders of the Court; (2) avoid
conflicts of interest; (3) not directly or indirectly pay or accept anything of value from
the receivership estate that has not been disclosed and approved by the Court; (4) not
directly or indirectly purchase, acquire, or accept any interest in the Receivership
Property of the receivership estate without full disclosure and approval by the Court;
and (5) otherwise act in the best interests of the receivership estate.


          (b) Periodic reports. The Receiver shall file periodic reports every sixty days
that itemize all receipts, disbursements, and distributions of money and property of
the receivership estate.


          (c) Final report. Before the receiver's discharge, the Receiver shall file a
final written report and final accounting of the administration of the receivership
estate.


2. Powers.


          The Receiver shall be empowered to take all such actions and exercise all such
discretion and authority as may be necessary or desirable in connection with the
ongoing operation, maintenance, management, protection and preservation of the
Receivership Property in the ordinary course of business or conduct of this litigation.
Without limiting any of the general or specific powers granted herein, the Receiver is
hereby vested with all of the powers, rights, and duties provided to receivers under
applicable law, including, without limitation, N.C. Gen. Stat. § 1-507.2.


          For the avoidance of doubt, such powers shall include, without limitation, the
power and authority:


          (a) to take immediate possession of the receivership assets, including any
books and records related thereto;


          (b) to dispose of all or any part of the assets of the receivership estate
wherever located if authorized by the Court;


          (c) to sue for and collect all debts, demands, and rents of the receivership
estate;


          (d) to compromise or settle claims by or against the receivership estate;
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      (e) to enter into such contracts as are necessary for the management,
security, insuring, and/or liquidation of the receivership estate;


      (f) to employ, discharge, and fix the compensation and conditions for such
agents, contractors, and employees as are necessary to assist the receiver in
managing, securing, and liquidating the receivership estate; and


      (g) to take actions that are reasonably necessary to administer, protect,
and/or liquidate the receivership estate.


      Notwithstanding the foregoing, the Receiver is hereby prohibited from taking
any action that would violate or conflict with any provisions of the June 21, 2019
Forfeiture Order (and any subsequent amendments or clarifications to such order)
entered by the Honorable James C. Dever in the case of United States v. Peters, No.
5-17-CR-411-D, CM/ECF Dkt. No. 57 (E.D.N.C. Jun 21, 2019)




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